           Case 3:17-cv-00558-SRU Document 258 Filed 02/05/19 Page 1 of 2



                         IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF CONNECTICUT

ONTARIO TEACHERS’ PENSION PLAN
BOARD, et al.,
                        Plaintiffs,                     CIVIL ACTION No. 3:17-cv-00558-SRU

                v.

TEVA PHARMACEUTICAL INDUSTRIES                          FEBRUARY 5, 2019
LTD., et al.,
                        Defendants.


                                           APPEARANCE


To the Clerk of this Court and all parties of record:

          Please enter my appearance as counsel in this case for intervenor-plaintiff California

State Teachers’ Retirement System.


                                        INTERVENOR-PLAINTIFF CALIFORNIA STATE
                                        TEACHERS’ RETIREMENT SYSTEM,

                                        By:     /s/ Richard S. Order
                                                Richard S. Order, Esq.
                                                Federal Bar No. ct02761
                                                UPDIKE, KELLY & SPELLACY, P.C.
                                                100 Pearl Street, P.O. Box 231277
                                                Hartford, CT 06123-1277
                                                Telephone: 860-548-2600
                                                Facsimile: 860-548-2680
                                                Email: rorder@uks.com




2054314
           Case 3:17-cv-00558-SRU Document 258 Filed 02/05/19 Page 2 of 2



                                  CERTIFICATE OF SERVICE

          THIS IS TO CERTIFY that on February 5, 2019, a copy of the foregoing was

electronically filed. Notice of this filing will be sent via e-mail to all parties by operation of the

Court’s electronic filing system. A copy has also been sent by U.S. mail first class, postage

prepaid, to all counsel and pro se parties that do not have access to the Court’s electronic filing

system.

                                               By:     /s/ Richard S. Order
                                                     Richard S. Order, Esq.
                                                     UPDIKE, KELLY & SPELLACY, P.C.




                                                 -2–
2054314
